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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      10/16/2020


CHANTELLE A.E. HUMPHREYS,

                                            Plaintiff,                  16-CV-9707 (VSB)(SN)

                          -against-                                             ORDER

NEW YORK CITY HEALTH AND
HOSPITALS CORPORATION,

                                            Defendant.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

        On Monday, October 12, 2020, the Honorable Vernon S. Broderick referred this matter to

my docket for settlement. In light of the Court’s busy calendar, settlement conferences must

generally be scheduled at least six to eight weeks in advance. The Court will likely be unable to

accommodate last-minute requests for settlement conferences, and the parties should not

anticipate that litigation deadlines will be adjourned in response to late requests for settlement

conferences. The parties are directed to contact Courtroom Deputy Rachel Slusher by email at

Rachel_Slusher@nysd.uscourts.gov with three (3) mutually convenient dates, to schedule a

settlement conference for a time when they believe it would be productive.

        The parties should assume that the settlement conference will be conducted by telephone

using a platform that will allow the Court to hold confidential conversations with counsel and the

party representative(s) for each side.

SO ORDERED.



DATED:           October 16, 2020
                 New York, New York
